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 1   BLACKMON & ASSOCIATES
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 5   Attorneys for Defendant
     ERIC LOREN CLAWSON
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                          EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                 Case No. 2:09-CR-0097 MCE
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                  Plaintiff,                   DEFENDANT ERIC CLAWSON’S
14                                             REQUEST FOR SEALING OF
           vs.                                 SUPPORTING DOCUMENTS;
15
     ERIC LOREN CLAWSON,                       ORDER
16   JOE GRIVETTE,
17
                  Defendants.
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19
20         Pursuant to Local Rule 140(d), defendant Eric Clawson

21   requests the Court order the sealing of attachments to defense

22   Motions in Limine No. 1-3.      This request includes attachments A

23   and B to In Limine Motion No. 1, attachments A and B to Motion

24   No. 2 and attachment A to Motion No. 3.        The documents contain

25   certain identifying information concerning Mr. Clawson and

26   others.     Redacted versions of these documents will be submitted.

27   ///

28   ///
     DATED:      March 15, 2010        Respectfully submitted,


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 1
                                      BLACKMON & ASSOCIATES
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 4                                    By:_/s/ Emily E. Doringer      __
                                         EMILY E. DORINGER
 5                                       Attorney for Defendant
 6                                       ERIC LOREN CLAWSON

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 1          [PROPOSED] ORDER FOR FILING OF DOCUMENTS UNDER SEAL
 2        This matter having come before me on the motion of
 3   defendant Eric Clawson, and upon good showing therefore, IT IS
 4   HEREBY ORDERED THAT all attachments to Mr. Clawson’s Motions In
 5   Limine No. 1-3 be filed under seal with the Court.          This order
 6   includes attachments A and B to Motions In Limine No. 1 and 2,
 7   as well as attachment A to Motion No. 3.
 8        IT IS SO ORDERED.
 9   DATED: March 15, 2010
10                                  __________________________________
11                                  MORRISON C. ENGLAND, JR
                                    UNITED STATES DISTRICT JUDGE
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